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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF MONTANA
                        GREAT FALLS DIVISION


UNITED STATES OF AMERICA,                           CR-07-126-GF-BMM

                 Plaintiff,

       vs.
                                                         ORDER
DEMETRIUS DMIRAL WARREN,

                 Defendant.


      United States Magistrate Judge John Johnston entered Findings and

Recommendations in this matter on May 10, 2021. (Doc. 145.) Demetrius Dmiral

Warren (Warren) filed an objection on May 11, 2021. (Doc. 146.) The Court

reviews de novo findings and recommendations to which a party objects. 28 U.S.C.

§ 636(b)(1).

      Judge Johnston conducted a revocation hearing on May 6, 2021. (Doc. 144.)

The United States accused Warren of violating his conditions of supervised release

by 1) by committing another crime; 2) by possessing a firearm; and 3) by

consuming alcohol. (Doc. 133.) At the revocation hearing, Warren admitted to
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violating the terms of his supervised release 1) by possessing a firearm; and 2) by

consuming alcohol. (Doc. 144.) Judge Johnston found the violations Warren

admitted are serious and warrant revocation of Warren’s supervised release. Judge

Johnston recommended Warren should be incarcerated for 12 months, with 17

months of supervised release to follow. (Doc. 145.)

       Warren now opposes Judge Johnston’s Findings and Recommendations,

objecting to the recommended disposition. (Doc. 146.)

      The Court has reviewed Judge Johnston’s Findings and Recommendations

as well as ’s objection. The undersigned conducted a revocation hearing on May

25, 2021. (Doc. 148.) Warren and his attorney were allowed to allocute before the

undersigned. (Id.) The Court has also considered the 18 U.S.C. § 3553(a) factors

and agrees with Judge Johnston’s Findings and Recommendations. Warren’s

violations of his conditions represent a serious breach of the Court’s trust. These

violations proves serious. Judge Johnston has recommended that the Court revoke

Warren’s supervised release and commit him to the custody of the Bureau of

Prisons for 12 months. (Doc. 145.) Judge Johnston further has recommended a

term of 17 months of supervised release. (Id.) Accordingly,

      IT IS HEREBY ORDERED that Warren’s objection is denied. Judge

Johnston’s Findings and Recommendations, (Doc. 145) are ADOPTED IN FULL.
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      IT IS FURTHER ORDERED that Defendant Demetrius Dmiral Warren be

sentenced to the custody of the Bureau of Prisons for a term of 12 months, with 17

months of supervised release to follow. Warren is also subject to the following:

You must complete 500 hours of community service work approved by the

probation officer. Community service shall be performed at 40 hours per month

unless you are working full time. If employed 40 hours per week, the rate of

community service shall be at a rate as directed by the probation officer. You must

provide written verification of completed hours to the probation officer.

      DATED this 25th day of May, 2021.
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